Case 1:20-cr-00337-GLR Document 1 Filed 10/05/20 Page 1 of 18




                                               GLR-20-0337
Case 1:20-cr-00337-GLR Document 1 Filed 10/05/20 Page 2 of 18
Case 1:20-cr-00337-GLR Document 1 Filed 10/05/20 Page 3 of 18
Case 1:20-cr-00337-GLR Document 1 Filed 10/05/20 Page 4 of 18
Case 1:20-cr-00337-GLR Document 1 Filed 10/05/20 Page 5 of 18
Case 1:20-cr-00337-GLR Document 1 Filed 10/05/20 Page 6 of 18
Case 1:20-cr-00337-GLR Document 1 Filed 10/05/20 Page 7 of 18
Case 1:20-cr-00337-GLR Document 1 Filed 10/05/20 Page 8 of 18
Case 1:20-cr-00337-GLR Document 1 Filed 10/05/20 Page 9 of 18
Case 1:20-cr-00337-GLR Document 1 Filed 10/05/20 Page 10 of 18
Case 1:20-cr-00337-GLR Document 1 Filed 10/05/20 Page 11 of 18
Case 1:20-cr-00337-GLR Document 1 Filed 10/05/20 Page 12 of 18
Case 1:20-cr-00337-GLR Document 1 Filed 10/05/20 Page 13 of 18
Case 1:20-cr-00337-GLR Document 1 Filed 10/05/20 Page 14 of 18
Case 1:20-cr-00337-GLR Document 1 Filed 10/05/20 Page 15 of 18
Case 1:20-cr-00337-GLR Document 1 Filed 10/05/20 Page 16 of 18
Case 1:20-cr-00337-GLR Document 1 Filed 10/05/20 Page 17 of 18
Case 1:20-cr-00337-GLR Document 1 Filed 10/05/20 Page 18 of 18
